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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001           03 MDL 1570 (GBD)(SN)


This document relates to:
Estate of John P. O’Neill, Sr., et al. v. The Republic of Iraq, et al., 04-cv-1076 (GBD)(SN)

  [PROPOSED] ORDER OF FINAL JUDGMENTS AS TO LIABILITYAGAINST THE
   TALIBAN AND FOR PARTIAL FINAL DAMAGES JUDGMENTS AGAINST THE
                  TALIBAN FOR NON-U.S. NATIONALS

        Upon consideration of the evidence and arguments submitted by non-U.S. National

Plaintiffs in the above-captioned matter, together with the entire record in the case, for all

Plaintiffs in Exhibit A and Exhibit B (“Moving Plaintiffs”), IT IS HEREBY

                   (1)   ORDERED that the Court’s Order at ECF No. 3067 granting a judgment

        as to liability for the members of the O’Neill family is extended to Moving Plaintiffs; and

        it is further

                   (2)   ORDERED that Moving Plaintiffs motion for entry of default judgment as

        to liability against the Taliban is granted; and it is further

                   (3)   ORDERED that service of process in the above-captioned matter was

        properly effected upon the Taliban for Moving Plaintiffs; and it is further

                   (4)   ORDERED that this Court possesses personal jurisdiction over the

        Taliban for Moving Plaintiffs; and it is further

                   (5)   ORDERED that this Court has subject-matter jurisdiction over the Taliban

        under the common law for actions arising out of wrongful death, assault, battery, and

        intentional infliction of emotional distress based on the intentional acts of international

        terrorism perpetrated on September 11, 2001 that intentionally targeted innocent civilians



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        resulting in death, personal injury, and significant grief sustained by family members of

        those killed in the attacks; and it is further

                   (6)    ORDERED that the Taliban is jointly and severally liable with the Islamic

        Republic of Iran (“Iran”) and that damages judgments under applicable common law are

        awarded to Moving Plaintiffs identified in Exhibit A and Exhibit B against the Taliban in

        the same amounts previously awarded by this Court to various similarly situated plaintiffs

        in Burnett, Havlish, Ashton, Bauer, O’Neill, and other cases against Iran; and it is further

                   (7)    ORDERED that intentional infliction of emotional distress (solatium)

        damages are awarded to those Moving Plaintiffs identified in Exhibit A in the amounts of

        $12,500,000 per spouse, $8,500,000 per parent, $8,500,000 per child, and $4,250,000 per

        sibling, as set forth in Exhibit A; and it is further

                   (8)    ORDERED that the estates of the 9/11 decedents, through the personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and

        family members of such 9/11 decedents, as identified by Moving Plaintiffs set forth in

        Exhibit B, are awarded compensatory damages for pain and suffering in the same per

        estate amount previously awarded by this Court regarding other estates of decedents

        killed in the September 11th Attacks, as set forth in Exhibit B; and it is further

                   (9)    ORDERED that compensatory damages are awarded to those Moving

        Plaintiffs identified in Exhibit B for decedents’ pain and suffering in an amount of

        $2,000,000 per estate, as set forth in Exhibit B; and it is further

                   (10)   ORDERED that the estates of the 9/11 decedents, through their personal

        representatives and on behalf of all survivors and all legally entitled beneficiaries and




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         family members of such 9/11 decedents, as identified in Exhibit B, are awarded economic

         damages in the amounts as set forth in Exhibit B; and it is further

                   (11)   ORDERED that Moving Plaintiffs are awarded prejudgment interest at the

         rate of 4.96 percent per annum, compounded annually for the period from September 11,

         2001 until the date of the judgment for damages; and it is further

                   (12)   ORDERED that Moving Plaintiffs are permitted to seek punitive damages,

         economic damages, and other appropriate damages, at a later date; and it is further

                   (13)   ORDERED that all other Plaintiffs not appearing in Exhibit A and Exhibit

         B are permitted to submit applications for damages awards in later stages, to the extent

         such awards have not previously been addressed; and it is further

                   (14)   ORDERED that this order is not binding on the determination of damages

         for defendants besides the one against whom default judgment is being sought. See, e.g.,

         ECF No. 2582 at 3.

         Furthermore, the Court respectfully directs the Clerk of the Court to terminate the motion

at ECF No. 9130 and ECF No. 8589.

                                                 SO ORDERED:



                                                 GEORGE B. DANIELS
                                                 United States District Judge
Dated:    New York, New York
          ___________ __, 202_




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